 Case 1:15-cr-00120-GJQ           ECF No. 78, PageID.181           Filed 10/28/15      Page 1 of 2




                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:15-cr-00120
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
KYLE LEWIS,                         )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 28, 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Kyle Lewis entered a plea of guilty to Count One of the Indictment in exchange

for the undertakings made by the government in the written plea agreement. In Count One of the

Indictment, defendant is charged with conspiracy to distribute heroin in violation of 21 U.S.C.

§§ 846, 841(a)(1) and 841(b)(1)(C). On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
 Case 1:15-cr-00120-GJQ           ECF No. 78, PageID.182            Filed 10/28/15      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count One of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: October 28, 2015                                  /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                 -2-
